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     CRAVATH, SWAINE & MOORE LLP              KEKER VAN NEST & PETERS LLP
 1   Gary A. Bornstein (pro hac vice)         Robert A. Van Nest
     gbornstein@cravath.com                   Eugene M. Paige
 2   Yonatan Even (pro hac vice)              Justina K. Sessions
     yeven @cravath.com                       633 Battery Street
 3   825 Eighth Avenue                        San Francisco, CA 94111-1809
     New York, NY 10019-7475                  Telephone: (415) 676-2289
 4   Telephone: (212) 474-1000                Facsimile: (415) 397-7188
     Facsimile: (212) 474-3700
 5                                            MORGAN, LEWIS & BOCKIUS LLP
     MORGAN, LEWIS & BOCKIUS LLP              Geoffrey T. Holtz (SBN 191370)
 6   Richard S. Taffet (pro hac vice)         geoffrey.holtz@morganlewis.com
     richard.taffet@morganlewis.com           One Market, Spear Street Tower
 7   101 Park Avenue                          San Francisco, CA 94105-1596
     New York, NY 10178-0060                  Telephone: (415) 442-1000
 8   Telephone: (212) 309-0060                Facsimile: (415) 442-1001
     Facsimile: (212) 309-6001
 9                                            Attorneys for Defendant
                                              QUALCOMM INCORPORATED
10
                                              Additional Counsel listed on the Signature
11                                            Page
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15
                              UNITED STATES DISTRICT COURT
16                           NORTHERN DISTRICT OF CALIFORNIA
17                                  SAN JOSE DIVISION

18
      FEDERAL TRADE COMMISSION                Case No. 5:17-CV-0220-LHK-NMC
19
                Plaintiff,
20         v.                                  QUALCOMM INCORPORATED’S
                                               STATEMENT OF RECENT
21    QUALCOMM INCORPORATED,                   DECISION
      a Delaware corporation,
22
                Defendant.
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                 QUALCOMM INCORPORATED’S STATEMENT OF RECENT DECISION
                                  17-CV-0220-LHK-NMC
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 1          Pursuant to Civil L.R. 7-3(d)(2), Qualcomm Incorporated respectfully submits this

 2   Statement of Recent Decision bringing to the Court’s attention the D.C. Circuit’s recent decision

 3   in United States v. AT&T, Inc., No. 18-5214, 2019 WL 921544 (D.C. Cir. Feb. 26, 2019), a true

 4   and correct copy of which is attached hereto as Exhibit A.

 5

 6
     Dated: February 26, 2019                   Respectfully submitted,
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 8
 9                                              CRAVATH, SWAINE & MOORE LLP
10
                                                s/ Gary A. Bornstein
11                                              Gary A. Bornstein
                                                Yonatan Even
12                                                  Worldwide Plaza
                                                       825 Eighth Avenue
13                                                         New York, NY 10019
                                                              Telephone: (212) 474-1000
14
                                                                  Facsimile: (212) 474-3700
15                                                                   gbornstein@cravath.com
                                                                     yeven@cravath.com
16
                                                Robert A. Van Nest
17                                              Eugene M. Paige
                                                Justina K. Sessions
18
                                                KEKER, VAN NEST & PETERS LLP
19                                                  633 Battery Street
                                                        San Francisco, CA 94111
20                                                         Telephone: (415) 676-2289
                                                               Facsimile: (415) 397-7188
21                                                                 rvannest@keker.com
22                                                                 epaige@keker.com
                                                                   jsessions@keker.com
23
                                                Richard S. Taffet
24                                              MORGAN, LEWIS & BOCKIUS LLP
                                                   101 Park Avenue
25                                                     New York, NY 10178
26                                                         Telephone: (212) 369-6000
                                                              Facsimile: (212) 309-6001
27                                                                richard.taffet@morganlewis.com

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                   QUALCOMM INCORPORATED’S STATEMENT OF RECENT DECISION
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                                Willard K. Tom
 1                              MORGAN, LEWIS & BOCKIUS LLP
 2                                 1111 Pennsylvania Avenue, N.W.
                                       Washington, DC 20004
 3                                         Telephone: (202) 739-3000
                                              Facsimile: (202) 739-3001
 4                                               willard.tom@morganlewis.com
 5
                                Geoffrey T. Holtz
 6                              MORGAN, LEWIS & BOCKIUS LLP
                                   One Market, Spear Street Tower
 7                                     San Francisco, CA 94105
                                          Telephone: (415) 442-1000
 8                                            Facsimile: (415) 442-1001
                                                  geoffrey.holtz@morganlewis.com
 9

10                              Attorneys for Qualcomm Incorporated

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